Case 17-06404       Doc 52     Filed 10/13/20 Entered 10/13/20 10:27:00     Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

                                               )
 In re:    Thomas W. Turk                      )       17 B 06404
                                               )
                 Debtor(s),                    )       Judge Timothy A. Barnes
                                               )

                                     Notice of Objection


          The Trustee objects to the Motion.




                                               Marilyn O. Marshall,
                                               Standing Trustee


                                               /s/ O. Anthony Olivadoti
                                               By: O. Anthony Olivadoti




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